           Case 23-43335-mxm11                     Doc 2       Filed 11/01/23 Entered 11/01/23 22:41:55                             Desc Main
                                                              Document     Page 1 of 4
Fill in this information to identify the case and this filing: 

Debtor Name      Eve Financial, Inc.

United States Bankruptcy Court for the:    Northern District of Texas

Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the
date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and
3571.


         Declaration and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration



         I declare under penalty of perjury that the foregoing is true and correct.


                          11/01/2023
         Executed on
                          MM/DD/YYYY
                                                                                       /s/ Isaac Freckleton
                                                                                        Signature of individual signing on behalf of debtor


                                                                                          Isaac Freckleton
                                                                                          Printed name

                                                                                          Chief Executive Officer
                                                                                          Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors                                       page 1 of 1
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               Case 23-43335-mxm11                      Doc 2    Filed 11/01/23 Entered 11/01/23 22:41:55                           Desc Main
                                                                Document     Page 2 of 4
    Fill in this information to identify your case: 

    Debtor Name      Eve Financial, Inc.

    United States Bankruptcy Court for the: Northern District of Texas                                                               Check if this is an
                                                                                                                                        amended filing
    Case number (If known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                 12/15
    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
    creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
    claims.



Name of creditor and complete              Name, telephone           Nature of the claim   Indicate if     Amount of unsecured claim
mailing address, including zip code        number, and email         (for example, trade   claim is
                                           address of creditor       debts, bank loans,    contingent,     If the claim is fully unsecured, fill in only unsecured
                                           contact                   professional          unliquidated,   claim amount. If claim is partially secured, fill in total
                                                                     services, and         or disputed     claim amount and deduction for value of collateral or
                                                                     government                            setoff to calculate unsecured claim.
                                                                     contracts)


                                                                                                           Total claim, if     Deduction for        Unsecured
                                                                                                           partially           value of             claim
                                                                                                           secured             collateral or
                                                                                                                               setoff

1    Jason Subotky                         Jason Subotky             Jason Subotky                                                                  $2,464,673.46
     c/o Winstead, P.C.                    () -                      is a Judgment
     Attn: Andrew J. Schumacher                                      Creditor from
     and Laney Howard                                                Cause No.
     401 Congress Ave., Suite                                        D-1-GN-22-00697
     2100                                                            9 in the District
     Austin, TX 78701                                                Court of Travis
                                                                     County, Texas
                                                                     (345th Judicial
                                                                     District). Other
                                                                     Plaintiffs: Jason
                                                                     Subotky Family
                                                                     Remainder
                                                                     Trust, Stephen
                                                                     Yacktman,
                                                                     Stephen
                                                                     Yacktman
                                                                     Family
                                                                     Remainder
                                                                     Trust, Ellyn
                                                                     Yacktman, Ellyn
                                                                     Yacktman
                                                                     Family
                                                                     Remainder Trust

2    Troutman Pepper Hamilton              Troutman Pepper           Legal fees                                                                       $136,772.70
     Sanders LLP                           Hamilton Sanders
     600 Peachtree Street NE,              LLP
     Suite 3000                            () -
     Atlanta, GA 30308


    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 1 of 3
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     Debtor        Eve Financial, Inc.                                          Case number (if known)
                   Name




3     Experian                             Experian               Vendor                                                      $101,458.84
      P.O. Box 4500                        () -
      Allen, TX 75013


4     Simplify Home Loans                  Simplify Home Loans    Office sublease                                              $67,515.00
      1261 S 820 E #200                    () -
      American Fork, UT 84003


5     Seward & Kissell                     Seward & Kissell       Legal Fees                                                   $51,462.50
      One Battery Park Plaza               () -                                       Disputed
      New York, NY 10004


6     iLex Consulting Group                iLex Consulting        Compliance                                                   $38,000.00
      8010 Ritter Dr                       Group                  Officer and
      Mount Juliet, TN 37122               () -                   consulting
                                                                  services

7     Maven Creative                       Maven Creative         Design services                                              $30,000.00
      200 S Orange Ave. Suite 100          () -
      Orlando, FL 32801


8     Bill Gosling Outsourcing             Bill Gosling           Credit Card                                                  $25,922.50
      55 Mulcaster Street,Suite 600        Outsourcing            servicing -
      Barrie, Ontario, L4M 0J4             () -                   services
                                                                  rendered

9     Excel CFO, Inc.                      Excel CFO, Inc.        Tax services                                                 $23,433.00
      29 N Park Square, Unit 201           () -                   rendered,
      Marietta, GA 30060                                          part-time CFO


10    Form Piper                           Form Piper             Commissions                                                  $14,811.20
      1261 S 820 E                         () -                   due
      American Fork, UT 84003


11    Bloom Credit                         Bloom Credit           Vendor - Credit                                              $13,406.25
      450 Fashion Ave Ste 1506             () -                   Reporting
      New York, NY 10123


12    Vervent, Inc.                        Vervent, Inc.          Backup Loan                                                  $12,000.00
      P.O. Box 911007                      () -                   Servicer
      San Diego, CA 92191


13    Carta, Inc.                          Carta, Inc.            Vendor                                                        $7,229.73
      333 Bush St, Suite 2300              () -
      San Francisco, CA 94104




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims   page 2 of 3
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     Debtor        Eve Financial, Inc.                                         Case number (if known)
                   Name




14    CSC Global                           CSC Global              Vendor                                                      $7,200.00
      251 Little Falls Drive               () -
      Wilmington, DE 19808


15    Plaid Technologies, Inc.             Plaid Technologies,     Vendor                                                      $5,894.79
      1098 Harrison St                     Inc.
      San Francisco, CA 94103              () -


16    Outreach.io                          Outreach.io             Saas services -                                             $5,015.53
      333 Elliott Ave. W #500              () -                    Vendor
      Seattle, WA 98119


17    Internet Mastery                     Internet Mastery                                                                    $4,062.67
      11693 San Vicente Blvd # 518         () -                                      Disputed
      Los Angeles, CA 90049


18    Middesk, Inc.                        Middesk, Inc.           Vendor                                                      $3,090.00
      85 2nd St., Suite 710                () -
      San Francisco, CA 94105


19    Delaware Trust Corporation           Delaware Trust          Vendor                                                      $3,000.00
      251 Little Falls Drive               Corporation
      Wilmington, DE 19808                 () -


20    Perfect Plastic Printing             Perfect Plastic         Service                                                     $2,936.80
      Corporation                          Printing Corporation    Providers
      311 Kautz Rd                         () -
      Saint Charles, IL 60174




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims   page 3 of 3
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